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 7
                                        UNITED STATES BANKRUPTCY COURT
 8                                       CENTRAL DISTRICT OF CALIFORNIA
                                               SANTA ANA DIVISION
 9
     In re:                                                       Case No. 8:20-bk-11507-ES
10
     HCA WEST, INC., et al.,                                      Chapter 11
11
                             Debtors.                             Jointly Administered With Case Nos.:
12                                                                8:20-BK-11508-ES and 8:20-BK-11509-ES
     Affects:
13                                                                NOTICE OF (A) ENTRY OF ORDER
         All Debtors                                              CONFIRMING THE CHAPTER 11 PLAN
14                                                                OF LIQUIDATION OF THE DEBTORS; (B)
         HCA WEST, INC., ONLY                                     OCCURRENCE OF THE EFFECTIVE
15                                                                DATE; AND (C) CERTAIN IMPORTANT
         HAI EAST, INC., ONLY                                     DEADLINES
16

17       HNA, INC., ONLY

18

19
                PLEASE TAKE NOTICE that an order [Docket No. 692] (the “Confirmation Order”) confirming the
20
     Third Amended Joint Chapter 11 Plan of Liquidation [Docket No. 596] (the “Plan”) was entered by the
21
     Honorable Erithe A. Smith, United States Bankruptcy Judge, and docketed by the Clerk of the United States
22
     Bankruptcy Court for the Central District of California (the “Bankruptcy Court”) on February 11, 2022. A
23
     capitalized term used but not defined herein shall have the meaning ascribed to it in the Plan or the Confirmation
24
     Order, as applicable.
25
                PLEASE TAKE FURTHER NOTICE that copies of the Confirmation Order, the Plan, and related
26
     documents are available to be viewed at the Bankruptcy Court’s website (https:///www.ca.uscourts.gov) for a
27
     small fee. To access the Court’s website, you will need a PACER password and login, which can be obtained
28
     at https://pacer.uscourts.gov.
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 1             PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan occurred on February 22,

 2   2022.

 3             PLEASE TAKE FURTHER NOTICE that, unless otherwise provided by the Plan, the Confirmation

 4   Order, or any other applicable order of the Bankruptcy Court, (a) all requests for payment of Administrative

 5   Claims arising on or after January 1, 2021, other than Professional Fee Claims, must be filed with the

 6   Bankruptcy Court and served on the Liquidation Trustee and its counsel by no later than March 24, 2022 (the

 7   “Second Administrative Claims Bar Date”) and (b) all requests for payment of Professional Fee Claims must

 8   be filed with the Bankruptcy Court no later than April 8, 2022. Holders of Administrative Claims that do not

 9   timely file and serve requests for payment of Administrative Claims by the Second Administrative Claims Bar

10   Date shall be forever barred from asserting such claims against the Debtors or the Liquidation Trust.

11             PLEASE TAKE FURTHER NOTICE that all executory contracts and unexpired leases not assumed

12   before the Effective Date, or subject to a pending motion to assume as of the Effective Date, are rejected

13   pursuant to Section 13.1 of the Plan as of the Effective Date. Any proofs of claim based upon the rejection of

14   a Debtor’s executory contract or unexpired lease pursuant to the Plan must be filed with the Bankruptcy Court

15   and served on the Liquidation Trustee and its counsel by no later than March 24, 2022 (the “Rejection Damage

16   Claims Bar Date”). Claims arising from the rejection of an executory contract or unexpired lease that are not

17   filed by the Rejection Damage Claims Bar Date shall be discharged and forever barred.

18             PLEASE TAKE FURTHER NOTICE that the Plan and its provisions are binding on the Debtors,

19   the Liquidation Trustee, the Liquidation Trust, any holder of a Claim against, or Interest in, the Debtors, and

20   such Holder’s respective successors and assigns, whether or not the Claim or Interest of such Holder is impaired

21   under the Plan and whether or not such Holder voted to accept the Plan.

22    Dated:     February 22, 2022                      PACHULSKI STANG ZIEHL & JONES LLP

23
                                                        By       /s/ Jason H. Rosell
24                                                               Ira D. Kharasch (CA Bar No. 109084)
                                                                 Jason H. Rosell (CA Bar No. 269126)
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                                                                 Counsel to the Debtors
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